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 1                          IN THE UNITED STATES BANKRUPTCY COURT FOR
                                   THE DISTRICT OF PUERTO RICO
 2

 3      IN RE:
 4
        VAQUERIA ALMEYDA INC                      CASE NO. 11-09962 BKT
 5
                                                  Chapter 12
 6

 7

 8

 9      XXX-XX1866
10

11
                                                      FILED & ENTERED ON 11/20/2012
12

13                      Debtor(s)

14
                          INTERIM ORDER FOR THE USE OF CASH COLLATERAL
15
             Debtors' Amended Urgent      Motion requesting authorization to use cash
16
       collateral    filed on October 24, 2012 (docket #158)   is hereby granted. The Court
17

18     enters a bridge order authorizing the use of cash collateral of creditors Banco

19     Popular de Puerto Rico, Banco Bilbao Vizcaya Argentaria, Pan American Grain, Co.,

20     Pago Heno, Servicios de Contabilidad, Servicios de Gestoria and Juan I. Barreto

21     (Lease) on and from the funds in Vaqueria Tres Monjitas, Inc.’s now in possession

22     and those that become in its possession thereafter, up to and including the
23     amounts of $194,637.00 for the month of October 2012 and and $61,502.00 for the
24
       month of November 2012 , as described in the attached exhibit.
25
             Vaquerias Tres Monjitas, Inc. is hereby ordered and directed to stop

       payments to: Banco Bilbao Vizcaya Argentaria,       Pan American Grain, Co., Pago

       Heno, Servicios de Contabilidad, Servicios de Gestoría, Juan I. Barreto (Lease).

             In addition, Vaquerias Tres Monjitas, Inc. shall make the payments of the

       net proceeds directly to Debtor and continue making payments to Autoridad de
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 1     Tierras, Plan Médico and Puerto Rico Farm Credit.

 2           Full accounting in writing, along with supporting evidence of the use of
 3     the funds, will be submitted to the Court on a weekly basis, stating the purpose
 4
       of the expenditure, to whom it was paid, the date and the amount, with copy of
 5
       this statement to be provided to the Trustee and creditors.    Furthermore, this
 6
       weekly report shall also include the number of cows in production, the percentage
 7
       of the milk quota being produced, and the number of cows that are resting.\
 8
             This order will become final and effective immediately upon being entered
 9
       on docket.
10
             IT IS SO ORDERED.
11
             San Juan, Puerto Rico this 20 day of November, 2012.
12

13

14
                                                              Brian K. Tester
15                                                         U.S. Bankruptcy Judge
16
       CC:   DEBTOR(S)
17           VICTOR GRATACOS DIAZ
             JOSE RAMON CARRION MORALES
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